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                                                                             FILED

                             UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA                         ^      oT
                                                                       2015 SEP 28 P       23
Krishna Prasad Adhikari, Biplav Bhatta,             Case No. 1 H
Lukendra Gurung, Sanjiv Gurung, Suraj
Lamichhane,                                         COMPLAINT


               Plaintiffs,                          JURY TRIAL DEMANDED


        V.



KBR, Inc.; Kellogg Brown & Root LLC;
Kellogg Brown & Root Services, Inc.; KBR
Technical Services, Inc.; Kellogg Brown &
Root Int'l, Inc.; Service Employees
International Inc.; Overseas Administration
Services; and John Does 1-5,

               Defendants.




       The Plaintiffs, by, and through, their undersigned attorneys, bring this action on behalf of

themselves against Defendants KBR, Inc.; Kellogg Brown & Root LLC; Kellogg Brown & Root

Services, Inc.; KBR Technical Services, Inc.; Kellogg Brown & Root International, Inc.; Service

Employees International Inc.; Overseas Administration Services; and John Does 1-5

("Defendanis") alleging as follows:

I.     INTRODUCTION


        1.     The Plaintiffs in this case are five Nepali men who were victims of trafficking in

persons. The men were trafficked across international borders to provide menial labor at U.S.

military facilities in Iraq for Defendant U.S. military contractors.

       2.      Plaintiffs were lured from Nepal with false promises of good jobs in Amman,

Jordan. Plaintiffs and/or their families went deep into debt to secure this employment, which

they hoped would lift them and their families out of poverty. But after Plaintiffs arrived in
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